      Case: 1:16-cv-01086 Document #: 152 Filed: 10/01/19 Page 1 of 5 PageID #:2681




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 GAVIN/SOLMONESE LLC,

                         Plaintiff,
                                                          Case No. 1:16-cv-01086
 v.
                                                          Judge Martha M. Pacold
 STEPHEN L. KUNKEL,

                         Defendant.

                                      JOINT STATUS REPORT

         By its Order of September 20, 2019, the Court directed the parties to submit a Joint Status

Report. Following is the agreed report of the parties concerning the significant prior events in

this case and the anticipated dates in the future:

         I.     Nature of the Case

                A.      Plaintiff, Gavin/Solmonese LLC, is represented by Craig Boggs,

Christopher Wilson and Eric Walker of Perkins Coie LLP, and Brian Shaw of Fox Rothschild

LLP. Defendant, Stephen L. Kunkel, is represented by Christopher Hedican of Baird Holm LLP

and Michael Gurland of The Gurland Law Firm.

                B.      The Court has jurisdiction based on diversity of citizenship, pursuant to 28

U.S.C. § 1332(a). Plaintiff, Gavin/Solmonese LLC is a Delaware limited liability company with

its principal place of business in Wilmington, Delaware. No shareholder of Gavin/Solmonese is

located in nor a citizen of Illinois. Defendant Stephen L. Kunkel is a citizen of the State of

Illinois and resides within the Northern District of Illinois. On January 26, 2016, Plaintiff

Gavin/Solmonese submitted additional information confirming diversity jurisdiction pursuant to

Belleville Catering Co. v. Champaign Marketplace, LLC, 350 F.3d 691- 692-93 (7th Cir. 2003).

(Dk. 10-11).
   Case: 1:16-cv-01086 Document #: 152 Filed: 10/01/19 Page 2 of 5 PageID #:2681




               C.     Brief Description of the Case:

        Plaintiff Gavin/Solmonese is a management consulting firm that provides corporate

services including turnaround management services for financially troubled companies.

Defendant Stephen L. Kunkel is a former executive who was hired by Gavin/Solmonese as a

Managing Director. In 2013, Gavin/Solmonese entered into a contract with Soo Tractor

Sweeprake Co. (“Old Soo”) under which the firm would provide management services for Old

Soo, a farm equipment parts producer located in Sioux City, Iowa. Gavin/Solmonese selected

Mr. Kunkel to serve as the CEO for Old Soo.

        On January 25, 2015, Gavin/Solmonese filed a five-count Complaint against Mr. Kunkel

alleging that he had engaged in a series of improper activities while CEO of Old Soo including

sexually harassing employees and physically spanking young male subordinates.

               D.     Damages Sought

        Gavin/Solmonese seeks multiple elements of damages including, but not limited to, the

amounts paid to Kunkel, the amount of benefits provided to Kunkel, the loss of the value of its

contract with Old Soo, the costs of defending and settling claims brought by Old Soo and certain

of its employees, the loss of other corporate opportunities, and the loss of reputation and good

will.

        II.    Discovery and Pending Motions

               A.      Discovery has closed and there are no pending motions.

                      (Items B and C are not applicable)

               D.     Defendant Kunkel filed a Motion to Dismiss on March 23, 2016. (Dk.

16). On July 6, 2016, the Court issued its Memorandum Opinion and Order dismissing Counts




                                               -2-
   Case: 1:16-cv-01086 Document #: 152 Filed: 10/01/19 Page 3 of 5 PageID #:2681




III-V of the Complaint (Tortious Interference with Contract, Tortious Interference with

Prospective Economic Advantage and Fraud), but denying Defendant’s Motion as to Counts I

and II (Breach of Fiduciary Duty and Unjust Enrichment). (Dk. 35)

               On June 22, 2018, Mr. Kunkel filed a Motion for Summary Judgment on Counts I

and II. (Dk. 99). On March 12, 2019, Judge Blakey issued a Memorandum Opinion and Order

denying Mr. Kunkel’s Motion for Summary Judgment. (Dk. 146)

               III.    Trial

               A.      The parties have demanded trial by jury.

               B.      Prior to reassignment to this Court, Judge Blakey had set this matter for a

final Pretrial Conference on November 1, 2019 (Dk. 147), and for trial to begin on November 4,

2019. (Dk. 144).

               C.      The parties have not submitted a final pretrial order. Judge Blakey’s

previous orders had set October 7, 2019 for such a submission.

               D.      The parties estimate that trial will take 2 weeks.

               E.      The parties now need a new date for trial. In addition, the parties need the

Court to set new dates for: 1) filing the Final Pretrial Order; 2) filing and responding to Motions

in Limine; and 3) a Final Pretrial Conference.

               IV.     Settlement, Referrals, and Consent

               A.      The case has not been referred to Magistrate Judge Gilbert for a settlement

conference.

               B.      The parties have attempted to discuss settlement but have not been

successful in those discussions.

               C.      The parties do not request a settlement conference.




                                                 -3-
   Case: 1:16-cv-01086 Document #: 152 Filed: 10/01/19 Page 4 of 5 PageID #:2681




               D.     Counsel have advised their respective clients of the opportunity to proceed

before the Magistrate Judge, but the parties have not consented to such a procedure.



 Dated: October 1, 2019                             Respectfully submitted,




GAVIN/SOLMONESE LLP                               STEPHEN L. KUNKEL


By: /s/ Christopher B. Wilson                    By: /s/ Michael Z. Gurland
     One of its Attorneys                            One of his Attorneys

    Craig T. Boggs                                     Christopher R. Hedican
    Christopher B. Wilson                              Baird Holm LLP
    Eric E. Walker                                     1700 Farnam Street, Suite 1500
    Perkins Coie LLP
                                                       Omaha, NE 68102
    131 South Dearborn Street, Suite 1700
                                                       Phone: (402) 636-8311
    Chicago, IL 60603-5559
    Phone: (312) 324-8400                              chedican@bairdholm.com
    cboggs@perkinscoie.com                             (appearing pro hac vice)
    cwilson@perkinscoie.com
    ewalker@perkinscoie.com
                                                       Michael Z. Gurland
    Brian L. Shaw                                      The Gurland Law Firm
    Fox Rothschild LLP                                 414 North Clay Street
    321 N. Clark Street, 16th Floor                    Hinsdale, IL 60521
    Chicago, IL 60654                                  Phone: (312) 420-8812
    Phone: (312) 517-9200                              mzg@gurlandlafirm.com
    bshaw@foxrothschild.com
    Attorneys for Plaintiff                            Attorneys for Defendant




                                              -4-
   Case: 1:16-cv-01086 Document #: 152 Filed: 10/01/19 Page 5 of 5 PageID #:2681




                               CERTIFICATE OF SERVICE

       I, Christopher B. Wilson, hereby certify that on Tuesday, October 1, 2019, I caused the

foregoing JOINT STATUS REPORT to be electronically filed with the Clerk of the Court

using the Court’s CM/ECF system which will send notification of such filing to the attorneys of

record listed below:

        Michael Z. Gurland
        The Gurland Law Firm
        414 North Clay Street
        Hinsdale, IL 60521
        (312) 420-8812
        mzg@gurlandlawfirm.com


        Christopher R. Hedican
        Baird Holm LLP
        1700 Farnam Street, Suite 1500
        Omaha, NE 68102
        (402) 636-8311
        chedican@bairdholm.com


                                                           /s/ Christopher B. Wilson
                                                           Perkins Coie LLP
                                                           131 S. Dearborn Street, Suite 1700
                                                           Chicago, IL 60603
                                                           Phone: (312) 324-8400
                                                           Fax: (312) 324-9400
                                                           cwilson@perkinscoie.com




                                              -5-
